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United States Courts

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Case 4:12-cr-00386 Document 322 Filed on 04/05/21 in TXSD Page 3 of 5

. ‘VERTFICATION _ ;
Pursuant to 28 U.S.C. §1746, I, JAMA HE: Mas declare
and verify, under penalty of perjury under the Laws of the State of
.Colorado and the United States of America, that T have read the |

foregoing and that it is true and correct to the best of my

belief and knowledge.

Hated this (Ag “ , day of Moccclr 5 2021

Reg no. [AD U4 a4

 

 

United States Penitentiary
USP Florence

P.O. Box 7000, ©

Florence, Colorado 81226-7000

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